                IN THE UNITED STATES COURT OF FEDERAL CLAIMS
                                Washington, D.C.


                                BID PROTEST
_____________________________________________
                                              |
NAVIENT SOLUTIONS, LLC                        |
                                              |
                                                                       18-1679 C
      Plaintiff,                              |
                                              |              CFC No. _______________
                  v.                          |
                                              |              Judge __________________
THE UNITED STATES OF AMERICA,                 |
                                              |
      Defendant.                              |
                                              |


                      MOTION FOR LEAVE TO FILE UNDER SEAL

       Plaintiff Navient Solutions, LLC ("Navient"), through undersigned counsel, respectfully

requests that the Court file under seal Plaintiff's Complaint. Plaintiff's Complaint contains

Navient confidential and proprietary information, the release of which could cause substantial

and irreparable harm to Navient.

       Pursuant to the Court's rules, Navient is simultaneously filing a redacted copy of the

Complaint that is suitable for public release. In light of the terms of the Court's sample

protective order, we respectfully request that the redacted version of the Complaint not be

released outside the Court or the government until approved for public release by counsel for the

U.S. Department of Justice.




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       Filing under seal is necessary to ensure continued protection of sensitive data protected

by the Federal Acquisition Regulation as permitted by this Court's Rules.

                                             Respectfully submitted,

Date: October 31, 2018                       By: /s/ Jonathan D. Shaffer
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                                                 Counsel of Record for
                                                 Navient Solutions, LLC

Of Counsel
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SMITH PACHTER MCWHORTER PLC




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                               CERTIFICATE OF SERVICE

       I certify that I have caused a true and accurate copy of Navient Solutions, LLC's Motion

for Leave to File Under Seal to be delivered by the delivery method indicated below on the 31st

day of October 2018 to the following:

       United States Department of Justice (via electronic mail)
       Commercial Litigation Branch
       1100 L Street, NW, 8th Floor
       Washington, DC 20530
       Tel: (202) 616-0475; Fax: (202) 305-7644
       Email: nationalcourts.bidprotest@usdoj.gov

       FSA Acquisitions Servicing Team (via electronic mail)
       U.S. Department of Education
       Union Center Plaza, Rm. 91F1
       830 First Street, NE
       Washington, DC 20202-5405
       Email: MPDSETeam@ed.gov

       Sara Falk (via electronic mail)
       United States Department of Education
       Office of the General Counsel
       400 Maryland Avenue, SW
       Room 6C157
       Washington, D.C. 20202-2110
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       David R. Pehlke (via electronic mail)
       United States Department of Justice
       Civil Division
       Post Office Box 480
       Ben Franklin Station
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                                                    /s/ Jonathan D. Shaffer
                                                    Jonathan D. Shaffer
